        Case 1:20-cv-00298-CKK Document 12-1 Filed 05/19/20 Page 1 of 17




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 ABOULGAED, et al.,

                          Plaintiffs,
          v.                                            No. 1:20-cv-00298-CKK

 HIFTER, et al.,

                          Defendants.



               DEFENDANT AMBASSADOR AREF ALI NAYED’S
           MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS

       Defendant Ambassador Aref Ali Nayed, former Ambassador from Libya to the United

Arab Emirates (“Ambassador Nayed”), through counsel and pursuant to Federal Rule of Civil

Procedure 12(b)(1), (b)(2), and (b)(6), respectfully moves the Court to dismiss the claims in the

Complaint (Dkt. 1) against him for lack of personal and subject-matter jurisdiction and for

failure to state a claim upon which relief may be granted.

I.     Introduction

       This lawsuit, filed on February 6, 2020, is brought by six Libyan Plaintiffs against the

United Arab Emirates (“UAE”) and four individual Libyan Defendants, including Ambassador

Nayed, for conduct that is alleged to have occurred in Libya and the UAE. Some of the few

paragraphs in the Complaint about Ambassador Nayed allege conduct he supposedly undertook

during his time as Libyan Ambassador to the UAE.

       This lawsuit simply does not belong in a U.S. court, and the Court lacks subject-matter

jurisdiction over it. It has no legally cognizable connection to the United States, it raises




                                                  3
        Case 1:20-cv-00298-CKK Document 12-1 Filed 05/19/20 Page 2 of 17




questions of diplomatic and sovereign immunity, and it implicates the act of state and political

question doctrines.

       This Court also lacks personal jurisdiction over Ambassador Nayed, whose only alleged

contacts with the United States and Washington, D.C. are a visit to meet with U.S. Government

officials in a political capacity and a visit to the Heritage Foundation to give a speech.

       For these reasons, explained in greater detail below, this Court should dismiss the claims

against Ambassador Nayed in this spurious Complaint, which appears to have been filed with the

ulterior purpose of being used as a political and propaganda tool in Libya and elsewhere, seeking

to utilize and take advantage of the imprimatur of the seal of this Court and the U.S. justice

system.1

II.    Background

       Plaintiffs are individuals and legal representatives of individuals who were killed or

harmed in May and July 20192 (Dkt. 1 ¶¶108-109) by drone strikes of Libyan medical facilities

alleged to have been carried out by the Libyan National Army (“LNA”), an organization headed

by Defendant Khalifa Abulgasim Hifter (“Hifter”). (Id. ¶18). Plaintiffs allege that unnamed

“officials” of the UAE provided the drones used in the attacks. (Id. ¶¶108-109).

       As to Ambassador Nayed, the Complaint makes only a few sparse and immaterial

allegations. Ambassador Nayed is not alleged to have had any involvement of any sort with the

drone strikes that harmed Plaintiffs. Rather, the only allegations specifically about Ambassador

Nayed are as follows:

       1
           See Defendant Ambassador Nayed’s Motion to Quash, filed concurrently herewith.
       2
         Although the Complaint avers that there are “numerous classes of Libyan nationals who
have been victimized” by other conduct (Dkt. 1 ¶133) and lists seven other “incidents” in which
persons were killed (id. ¶¶70-81), it does not purport to bring a class action, is not directed to
those other “incidents,” and is instead limited to the claims of the Plaintiffs listed in the case
caption.
                                                  4
        Case 1:20-cv-00298-CKK Document 12-1 Filed 05/19/20 Page 3 of 17




        Plaintiffs allege that Ambassador Nayed was the Libyan Ambassador to the UAE in

2014, and in that capacity, “facilitate[ed] the movement” of certain special purpose vehicles

(“SPVs”) from the UAE to Libya in 2014-2015. (Id. ¶50). They claim that he is currently a

“Canadian and Libyan citizen[,]” who owns a “Libyan television channel which broadcasts

throughout Libya and on YouTube.” (Id. ¶21). Ambassador Nayed allegedly used this television

channel to “foment discord” against the “Tripoli government.” (Id. ¶¶21, 46). Plaintiffs also

allege that Ambassador Nayed knew about “Hifter’s agenda” and “supported him 100%.” (Id.

¶21).

        The Complaint describes Ambassador Nayed as “politically ambitious” (id. ¶46), having

“appeared in Washington” in March 2017 to speak before the Heritage Foundation, “criticiz[ing]

the government in Tripoli as not properly representing the people of Libya” (id. ¶48); and having

visited Washington, D.C. in the fall of 2019 to meet with officials of the Trump Administration

(id. ¶49). Plaintiffs quote Ambassador Nayed as saying: “My two visits (to the USA) were to

present the narrative of Libya’s duly elected Parliament, its transitional government, and its

Libyan National Army, and our reading of the current situation, as well as detailed plans for the

formation of a National Unity Government, and holding general presidential elections within 18

months from the liberation of Tripoli.” (Id.).

III.    Argument

        A.     This Court Lacks Personal Jurisdiction over Ambassador Nayed

        Plaintiffs do not identify any basis for personal jurisdiction over Ambassador Nayed

specifically. Instead, they vaguely and erroneously assert, as to all Defendants lumped together,

that “Fed. R. Civ. P. 4(k)(2) provides this Court personal jurisdiction over foreign defendants

who have transacted any business in this judicial district pursuant to the District of Columbia



                                                 5
        Case 1:20-cv-00298-CKK Document 12-1 Filed 05/19/20 Page 4 of 17




Long-Arm Statute, D.C. Code Ann. §13-423.” (Dkt. 1 ¶6). They also seem to assert a theory of

universal jurisdiction. (See id. ¶¶7-8).

       Because the allegations are improperly directed toward all Defendants generally and

erroneously seek to conflate the D.C. long-arm statute with Rule 4(k)(2),3 Plaintiffs’

jurisdictional theories cannot be parsed. Nonetheless, Ambassador Nayed addresses below what

are perceived to be Plaintiffs’ three bases for subjecting him to personal jurisdiction in this Court

and shows why all three are flat wrong and contradict the binding precedent of this Circuit.

               1.      Rule 4(k)(2) Does Not Supply A Basis for Personal Jurisdiction Over
                       Ambassador Nayed

       It would be unconstitutional and outside any notion of fair play and substantial justice to

subject Ambassador Nayed to personal jurisdiction under Federal Rule of Civil Procedure

4(k)(2). Rule 4(k)(2) functions as a federal long-arm statute. Mwani v. Bin Laden, 417 F.3d 1, 10

(D.C. Cir. 2005). In a case where there has been service of process (there has not been here),4 a

defendant is subject to personal jurisdiction under Rule 4(k)(2) in federal court if plaintiffs: (a)

allege a claim arising under federal law, and (b) show that the defendant has sufficient contacts

with the forum such that exercising jurisdiction would be consistent with the U.S. Constitution

and laws. Id. Plaintiffs must establish a relationship that the defendant has with forum and the

       3
         The D.C. long-arm statute and Rule 4(k)(2) are mutually exclusive and cannot be
combined. Plaintiffs’ personal jurisdiction allegations are not well-pled, and the Court could
dismiss the matter against Ambassador Nayed on that basis alone. Nevertheless, because this
Court would not have personal jurisdiction over Ambassador Nayed even if the allegations were
well-pled, such that there is no need to give Plaintiffs an opportunity to re-plead, this brief
addresses personal jurisdiction under Rule 4(k)(2) and the D.C. long-arm statute separately.
       4
         On April 28, 2020, this Court authorized service by publication against all Defendants,
including Ambassador Nayed. As noted in footnote 1 above, Ambassador Nayed files
concurrently herewith a Motion to Quash any such service attempt on him. To avoid duplication,
those arguments – which explain why all service attempts made to date on Ambassador Nayed
are insufficient under the law and Rules of Civil Procedure – are not repeated here but are
instead incorporated by reference.

                                                  6
        Case 1:20-cv-00298-CKK Document 12-1 Filed 05/19/20 Page 5 of 17




“underlying controversy,” Doe v. Buratai, 792 Fed. Appx. 6, 9 (D.C. Cir. Nov. 26, 2019)

(internal citations and quotations omitted), and under Rule 4(k)(2), the relevant forum is the

United States “as a whole.” Id. at 8. See also Livnat v. Palestinian Auth., 851 F.3d 45, 56-57

(D.C. Cir. 2017).

       To exercise specific personal jurisdiction,5 a defendant’s “suit-related conduct must

create a substantial connection with the forum.” Buratai, 792 Fed. Appx. at 9 (emphasis in

original; internal citations and quotations omitted). To survive a motion to dismiss for lack of

personal jurisdiction, plaintiffs must make a prima facie showing of the pertinent jurisdictional

facts. Livnat, 851 F.3d at 56-57. Conclusory allegations will not suffice. Id. at 57.

       Here, under D.C. Circuit authority, Plaintiffs have not – and cannot – make a prima facie

showing that Ambassador Nayed has the requisite minimum contacts with the United States to

render constitutional the exercise of personal jurisdiction under Rule 4(k)(2).

       Plaintiffs’ only direct attempt to connect Ambassador Nayed with the United States as a

whole are the allegations that he visited Washington, D.C. twice: in March 2017 to speak at the

Heritage Foundation about Libya (Dkt. 1 ¶48), and to meet with officials in the Trump

Administration in or around the fall of 2019 (id. ¶49). These allegations are woefully insufficient

to establish the Court’s personal jurisdiction over Ambassador Nayed in this lawsuit for two

glaring reasons: (A) the visits are not alleged to be related in any way to the particular drone

strikes at issue in this case, and (B) they do not constitute conduct with a “substantial

connection” to the United States for purposes of this lawsuit. See Livnat, 851 F.3d at 57 (finding

no personal jurisdiction under Rule 4(k)(2) because plaintiffs failed to allege non-conclusory


       5
         As a resident and citizen of foreign countries, Ambassador Nayed is not subject to
general jurisdiction in the United States, and Plaintiffs do not assert general personal jurisdiction
over him. Indeed, Plaintiffs allege him to be a citizen of Canada and Libya (Dkt. 1 ¶21) and, in
the case caption, identify his address as in the UAE.
                                                  7
        Case 1:20-cv-00298-CKK Document 12-1 Filed 05/19/20 Page 6 of 17




facts as to how the particular attack was linked with any activity by defendant in the United

States). Cf. Mwani v. Bin Laden, 417 F.3d 1, 13-14 (D.C. Cir. 2005) (finding personal

jurisdiction over defendants under Rule 4(k)(2) where defendants were alleged to have

specifically aimed the attacks at issue at harming U.S. citizens, U.S. property, and the United

States generally).

       Indeed, the speech at the Heritage Foundation about Libya’s status and future took place

in March 2017, two years before the drone strikes at issue. The two events are not alleged to

have anything to do with one another.

       Similarly, Ambassador Nayed’s meetings with Trump officials – during which

Ambassador Nayed allegedly presented “plans for the formation of a National Unity

Government” and plans to hold presidential elections for same (Dkt. 1 ¶49) -- took place several

months after the drone strikes and are likewise not alleged to be connected specifically to the

drone strikes in any way. See Livnat, 851 F.3d at 57 (plaintiffs failed to allege any conduct in the

United States by defendant related to the specific attack at issue).

       In any event, meetings between Ambassador Nayed and the Trump Administration, even

though in the United States, do not count toward the jurisdictional analysis because they fall

within the “government contacts” exception. The “government contacts” exception bars from the

personal jurisdiction analysis consideration of “any contacts due to a nonresident’s entry into the

District of Columbia for the purpose of contacting federal governmental agencies.” Toumazou v.

Turkish Rep. of N. Cyprus, 71 F. Supp. 3d 7, 16 (D.D.C. 2014), lack of personal jurisdiction

holding aff’d by 2016 U.S. App. LEXIS 787, at *2-3 (D.C. Cir. Jan. 15, 2016) (internal citations

and quotations omitted). See also Second Amendment Found. v. U.S. Conf. of Mayors, 274 F.3d

521, 524 (D.C. Cir. 2001) (finding that meeting of mayors in Washington, D.C. to discuss



                                                  8
        Case 1:20-cv-00298-CKK Document 12-1 Filed 05/19/20 Page 7 of 17




legislative and litigation strategies failed to subject the mayors to personal jurisdiction in

Washington, D.C. – “otherwise, people would be unable to meet in the nation’s capital to discuss

issues of concern without subjecting themselves to the jurisdiction of D.C. courts”).

        All of the Plaintiffs’ other allegations attempting to tie Ambassador Nayed and this case

to the United States are likewise jurisdictionally immaterial and irrelevant. For example,

Plaintiffs make general and conclusory allegations, such as: “the entities named herein…have

been engaging in activity on U.S. soil for the past 5 years, which includes a vigorous lobbying

campaign which it launched with President Trump” and “certain” unnamed “activities also

concerning the organizing and planning the wholesale takeover of Libya” all of which allegedly

“occurred in this District.” (Dkt. 1 ¶2). Those conclusory, generalized allegations need not be

accepted as true, do not count in the jurisdictional analysis, and establish no link to Ambassador

Nayed or to the drone strikes for which these Plaintiffs have filed suit. See Livnat, 851 F.3d at 57

(finding that plaintiffs failed to make a prima facie showing of personal jurisdiction because

plaintiffs’ allegation that the Palestinian Authority used terrorism to influence the United States

was conclusory and had no link to the particular attack at issue in the complaint); Jungquist v. Al

Nahyan, 115 F.3d 1020, 1031 (D.C. Cir. 1997) (speculation and conclusory statements that

individuals were co-conspirators fail to establish jurisdiction under a conspiracy theory).

        Also, to the extent Plaintiffs seek to tie Ambassador Nayed to Defendant Hifter for

purposes of obtaining personal jurisdiction over Ambassador Nayed, Plaintiffs’ efforts should

fail. Importantly, Plaintiffs aver that Hifter is a U.S. citizen but that he left the United States in

2011 (Dkt. 1 ¶31) and undertook all of his conduct related to his Libyan operations in Libya.

Plaintiffs do not allege that Defendant Hifter ever returned to the United States. Plaintiffs also do




                                                    9
        Case 1:20-cv-00298-CKK Document 12-1 Filed 05/19/20 Page 8 of 17




not allege that Ambassador Nayed and Defendant Hifter undertook any conduct together in the

United States, let alone any conduct related to this case.

               2.      The D.C. Long-Arm Statute Also Does Not Supply A Basis for
                       Personal Jurisdiction Over Ambassador Nayed

       Second, for all the same reasons that Rule 4(k)(2) does not supply a basis for personal

jurisdiction over Ambassador Nayed, the D.C. Long-Arm Statute, D.C. Code Ann. §13-423, also

does not supply personal jurisdiction over Ambassador Nayed. The Complaint does not allege

that he transacted any business in the District of Columbia. And, as noted above, any trips that

Ambassador Nayed made to Washington, D.C. to meet with the Trump Administration fall

within the “government contacts” exception. See Toumazou, 71 F. Supp. 3d at 16.

               3.      Circuit Precedent Forecloses A Universal Jurisdiction Theory

       Under binding Circuit precedent, Plaintiff’s theory of universal jurisdiction also must be

rejected. In Buratai, a case decided just last year, the D.C. Circuit stated unequivocally that

universal jurisdiction “is not the law.” 792 Fed. Appx. at 9.

       For all the foregoing reasons, all claims against Ambassador Nayed should be dismissed

for lack of personal jurisdiction.

       B.      The Case Against Ambassador Nayed Should Be Dismissed for Lack of
               Subject Matter Jurisdiction

       This matter should also be dismissed for lack of subject-matter jurisdiction.

       In their Complaint, Plaintiffs invoke several sources of subject-matter jurisdiction: the

Alien Tort Statute, 28 U.S.C. §1350; federal-question jurisdiction under 28 U.S.C. §1331;

diversity jurisdiction under 28 U.S.C. §1332; and supplemental jurisdiction under 28 U.S.C.




                                                 10
        Case 1:20-cv-00298-CKK Document 12-1 Filed 05/19/20 Page 9 of 17




§1367(a). (Dkt. 1 ¶¶1, 2, 4, 5). As explained below, subject matter jurisdiction is unavailable

under all of these statutes.6

                1.      This Court Lacks Jurisdiction Under the Alien Tort Statute

        The Alien Tort Statute (“ATS”) provides federal courts with jurisdiction over certain

actions brought by aliens for select torts “committed in violation of the law of nations” in only a

limited number of circumstances. 28 U.S.C. §1350. Plaintiffs’ claims do not fall within those

limited circumstances.

        In 2013, the Supreme Court considered the ATS in Kiobel v. Royal Dutch Petroleum, 133

S. Ct. 1659 (2013), and held that the presumption against extraterritoriality applies to ATS cases.

The Court found in that particular case that, where the plaintiffs were foreign nationals (although

U.S. residents at the time of suit), the defendants were foreign, and “all the relevant conduct took

place outside of the United States[,]” jurisdiction under the ATS was lacking. Id. at 1664, 1669.

See also Kaplan v. Cent. Bank of the Islamic Rep. of Iran, 896 F.3d 501, 516 (D.C. Cir. 2018)

(extraterritoriality in the ATS context is a jurisdictional, rather than a merits question). The

Supreme Court added: “even where the claims touch and concern the territory of the United

States, they must do so with sufficient force to displace the presumption against extraterritorial

application.” 133 S. Ct. at 1669. See also id. (finding that, for example, mere “corporate

presence” in the United States would not suffice to displace the presumption against

extraterritorial application).

        Kiobel and its progeny thus establish that, where a case involves foreign plaintiffs,

foreign defendants, and foreign conduct and is thus “foreign-cubed,”7 the presumption against



        6
         Jurisdiction under the Foreign Sovereign Immunities Act is unavailable as to the claims
against Ambassador Nayed because that Act applies only to foreign state defendants. See
Samantar v. Yousuf, 560 U.S. 305 (2010).
                                                  11
       Case 1:20-cv-00298-CKK Document 12-1 Filed 05/19/20 Page 10 of 17




extraterritorial application applies and the case must be dismissed for lack of subject-matter

jurisdiction. See, e.g., Daimler v. Bauman, 571 U.S. 117 (2014) (dismissing claims by

Argentinians against a German company for acts that occurred in Argentina); Jara v. Núñez, 878

F.3d 1268, 1273-1274 (11th Cir. 2018) (affirming dismissal of ATS claims where alien plaintiffs

sued former Chilean Lieutenant who lived in the United States but failed to allege that the

defendant engaged in any “relevant conduct while on American soil”); Mohammadi v. Islamic

Rep. of Iran, 947 F. Supp. 2d 48, 68-71 (D.D.C. 2013), aff’d on other grounds, 782 F.3d 9 (D.C.

Cir. 2015) (dismissing ATS claim against Iranian officials for lack of jurisdiction in foreign-

cubed matter); Chen Gang v. Zhao Zhizhen, 2013 U.S. Dist. LEXIS 134510, at *7-11 (D. Conn.

Sept. 20, 2013) (dismissing ATS claim against former chief of Chinese broadcasting network

and director of television station for lack of jurisdiction in “paradigmatic ‘foreign-cubed’” matter

and citing other cases dismissed on the same basis).

       This case is decidedly foreign-cubed. The Plaintiffs are Libyan; the Defendants are

Libyan; and all the relevant conduct took place in Libya (some also, allegedly, in the UAE). (See,

e.g., Dkt. 1 ¶96, alleging liability for certain Defendants’ “pattern of extensive criminal activity

on Libyan soil”; and id. ¶110, alleging that all Defendants caused certain Plaintiffs’ harms by

orchestrating “the attack on two field hospitals [in Libya] on July 27, 2019”).

       The fact that one of the Defendants is alleged to be a U.S. citizen and may own property

in Northern Virginia (Dkt. 1 ¶18) does not alter the fact that this case is foreign-cubed and should

be dismissed on that basis. See Kiobel, 133 S. Ct. at 1669 (finding that the “mere” U.S.

“presence” of a corporate defendant was insufficient to displace the presumption against



       7
          In Morrison v. National Australia Bank Ltd., 561 U.S. 247, 283, n. 11 (2010) (Stevens,
J., concurring in judgment), the term “foreign-cubed” was used to describe litigation in which
plaintiffs and defendants are foreign and all the relevant conduct occurred abroad.
                                                 12
       Case 1:20-cv-00298-CKK Document 12-1 Filed 05/19/20 Page 11 of 17




extraterritoriality); Jara, 878 F.3d at 1273-1274 (even though defendant, an individual, was a

U.S. citizen and resident at the time of suit, all of conduct relevant to the alleged violations of the

law of nations took place in Chile; therefore the matter did not touch and concern the United

States for ATS purposes); Mastafa v. Chevron Corp., 770 F.3d 170, 189 (2d Cir. 2014) (holding

that an individual “defendant’s U.S. citizenship” has no relevance to the ATS jurisdictional

analysis because it was “made clear in Kiobel that the full ‘focus’ of the ATS was on conduct”).

       Moreover, although the Complaint alleges some limited U.S. conduct by Ambassador

Nayed himself – namely, his visits to the United States to speak at a thinktank (in 2017) and to

meet with Trump Administration officials (in 2019) – that conduct has no bearing on the

jurisdictional analysis. Indeed, under Kiobel and its progeny, the only judicially cognizable

conduct for purposes of the ATS jurisdictional analysis is conduct that allegedly violated the law

of nations. See Adhikari v. Kellogg Brown & Root, Inc., 845 F.3d 184, 197 (5th Cir. 2017)

(“Whether Plaintiffs seek a domestic application of the statute is determined by the location of

the conduct relevant to the ATS’s focus….[t]hat is, the focus is conduct that violates

international law”); Mastafa, 770 F.3d at 190 (looking only at “relevant” U.S.-based conduct,

namely any conduct by defendant in the United States that itself violates the law of nations or

aids and abets aiding another’s violation of the law of nations).

       In this case, Plaintiffs seek relief for the harms against them in Libya by drone strike,

alleging that those acts violated the law of nations. Ambassador Nayed’s U.S. visits are not

alleged to have anything to do with those particular incidents and Plaintiffs have not and cannot

allege that Ambassador Nayed’s conduct in the United States (or, frankly, elsewhere) violated

international law.




                                                  13
       Case 1:20-cv-00298-CKK Document 12-1 Filed 05/19/20 Page 12 of 17




       The allegations of other supposed U.S.-based conduct by the Defendants generally – such

as “lobbying” the U.S. government and “organizing and planning” (Dkt. 1 ¶2) – likewise are not

alleged to have had anything to do with the particular incidents at issue in this Complaint. In any

event, those general allegations are conclusory and should not be considered. Mastafa, 770 F.3d

at 190 (finding that allegation that “because Chevron was headquartered in the United States,

much of the decision-making to participate” in the unlawful scheme “was necessarily made in

the United States” was a conclusory allegation that need not be credited).

       The rest of the conduct allegedly undertaken by Ambassador Nayed – such as owning

and operating a television station – took place outside of the United States and is not alleged to

have anything to do with the specific drone strikes at issue here.

       Plaintiffs also allege that Ambassador Nayed supposedly violated a U.N. Security

Council Resolution in the UAE by “facilitating the movement” of certain SPVs from the UAE to

Libya at the request of Libya’s Minister of Interior in 2014 when Ambassador Nayed was

“Libyan ambassador to the UAE.” (Dkt. 1 ¶50). That conduct is, again, not alleged to be

connected to the specific harms against Plaintiffs. In addition, we note that adjudicating claims

against Ambassador Nayed for acts he undertook in his capacity as an ambassador in a foreign

country raises concerns under the Vienna Convention on Diplomatic Relations, and international

comity generally. See Vienna Convention on Diplomatic Relations (“VCDR”), 18 April 1961,

500 UNTS 95, entered into force 24 April 1964; Knab v. Rep. of Georgia, 1998 U.S. Dist.

LEXIS 8820, *11 (D.D.C. May 29, 1998) (under Article 39 of the VCDR, former diplomats

enjoy residual immunity for acts performed in the exercise of their functions as members of

diplomatic missions).




                                                 14
       Case 1:20-cv-00298-CKK Document 12-1 Filed 05/19/20 Page 13 of 17




       Finally, Plaintiffs’ general and conclusory allegation that their claims satisfy the “touch

and concern” test because they “touch and concern the territory of the United States as described

in detail throughout this Complaint and specifically in the Venue section herein” (Dkt. 1 ¶1) is

non-sensical. Paragraph 15 of the Complaint sets forth the entirety of Plaintiffs’ “Venue”

allegations. It asserts that venue in this judicial district is proper based on 28 U.S.C. §1391(f)(4)

“for a number of reasons,” all of which have to do with the fact that Defendant Hifter allegedly

previously traveled to the United States and the D.C. metropolitan area, hired a lobbyist, and that

he and his family lived and owned property in Northern Virginia. Id. It states nothing about

Ambassador Nayed or Plaintiffs’ ATS claims against him. Moreover, §1391(f)(4), the catch-all

provision for venue in suits brought against foreign sovereigns, is wholly unrelated to Plaintiffs’

claims against Ambassador Nayed, an individual. Paragraph 15 also does not come anywhere

close to stating facts that would meet the Kiobel “touch and concern” test.

       In addition, a lawsuit against Ambassador Nayed that complains of official acts taken in

conjunction with the official acts of other sovereigns (here Libya and the UAE) are non-

justiciable under the act of state and political question doctrines because the Complaint seeks to

have this Court sit in judgment on the propriety under international law of the alleged transfer of

SPVs from the UAE to the Government of Libya by diplomats and other government officials.

(See, e.g., Dkt. 1 ¶¶49-50, 115). See also Hourani v. Alexander, 796 F.3d 1, 11-17 (D.C. Cir.

2015) (finding that the act of state doctrine precluded consideration of claim that the Kazakh

Embassy, at the behest of its Ambassador, published defamatory statements about plaintiffs and

conspired with defendants to defame plaintiffs); Lin v. United States, 561 F.3d 502 (D.C. Cir.

2009) (affirming dismissal of case under the political question doctrine because deciding the




                                                  15
       Case 1:20-cv-00298-CKK Document 12-1 Filed 05/19/20 Page 14 of 17




matter would impinge upon the Executive’s function to determine who exercises sovereignty

over Taiwan).

       For all these reasons, the Court lacks ATS subject-matter jurisdiction in this case.

                2.     This Court Lacks Jurisdiction over Plaintiffs’ TVPA Claims and They
                       Fail to State a Claim for Relief Against Ambassador Nayed

       Unlike the ATS, which provides its own federal question jurisdiction if and when

applicable, the Torture Victim Protection Act (“TVPA”) requires independent federal question

jurisdiction under 28 U.S.C. §1331.

       In this case, Plaintiffs do not allege TVPA liability as to Ambassador Nayed. (See, e.g.,

Dkt. 1 ¶¶10-11, alleging “Defendant Hifter” to be a “proper Defendant” under the TVPA as “a

de facto ruler of Eastern Libya”). Indeed, there is no allegation that Ambassador Nayed himself

harmed any of the Plaintiffs or launched or approved the drone strikes at issue here. Therefore, it

seems Plaintiffs do not seek §1331 jurisdiction as to the claims against Ambassador Nayed and

therefore any TVPA claims against Ambassador Nayed (to the extent there are any) should be

dismissed under Federal Rule of Civil Procedure 12(b)(1).

       To the extent Plaintiffs seem to ask this Court to apply the TVPA to Ambassador Nayed

indirectly via an unpled theory of conspiracy and/or aiding and abetting theory of vicarious

liability, that effort also should fail under Federal Rule of Civil Procedure 12(b)(6). (See, e.g.,

Dkt. 1, Count II, claiming various UAE officials “conspired with Defendants”; Count III ¶134,

claiming that “Defendants…aided and abetted…in the murder of these individuals”). Plaintiffs’

Complaint falls far short of stating a claim for conspiracy or aiding-and-abetting liability against

Ambassador Nayed. See Halberstam v. Welch, 705 F.2d 472, 477 (D.C. Cir. 1983) (setting forth

standards for stating a claim for relief under conspiracy and aiding and abetting theories of

liability); Chen Gang v. Zhao Zhizhen, 2020 U.S. App. LEXIS 1338, *4-6 (2d Cir. Jan. 13, 2020)


                                                  16
       Case 1:20-cv-00298-CKK Document 12-1 Filed 05/19/20 Page 15 of 17




(in TVPA case, noting that aiding and abetting liability may not apply, but finding that, in any

event, plaintiffs’ proposed allegations in an amended complaint failed to state a claim for relief

under conspiracy and aiding and abetting theories).

       Plaintiffs’ claims that Ambassador Nayed’s current acts as owner of a television station

and previous conduct (in 2014) as a former ambassador fail to connect him in any material way

to the harms at issue in this Complaint. Moreover, averring that Ambassador Nayed “knew what

Defendant Hifter’s agenda was, and supported him 100%” (Dkt. 1 ¶21) does not state a claim

that Ambassador Nayed “knowingly and substantially” assisted in killing and harming the

individuals who have brought this suit.

       For these reasons, the TVPA claims against Ambassador Nayed, to the extent there are

any, should be dismissed.

               3.      This Court Lacks Diversity Jurisdiction

       Under 28 U.S.C. §1332, diversity must be “complete,” meaning all plaintiffs must be

diverse from all defendants. Eze v. Yellow Cab Co., 782 F.2d 1064, 1065 (D.C. Cir. 1986) (per

curiam). Here, all Plaintiffs are Libyan nationals, and all Defendants are alleged to be foreign

nationals, with the exception of Hifter, who is alleged to be a U.S. citizen. (Dkt. 1 ¶18). Plaintiffs

do not meet the requirements of §1332, because complete diversity is required. See Eze, 782 F.2d

at 1065 (finding that suit “may not be maintained” under the diversity statute “by an alien against

a citizen of a state and a citizen of some other foreign country”).




                                                 17
       Case 1:20-cv-00298-CKK Document 12-1 Filed 05/19/20 Page 16 of 17




               4.      This Court Should Decline to Exercise Supplemental Jurisdiction over
                       Any Non-Federal Claims

       Plaintiffs also allege supplemental jurisdiction under 28 U.S.C. §1367 (Dkt. 1 ¶5),

presumably for Count Four, which purports to seek relief under D.C. law for intentional

infliction of emotional distress.8

       Under the supplemental-jurisdiction statute, a district court may, in its discretion, choose

not to exercise supplemental jurisdiction over a state law claim if “the district court has

dismissed all claims over which it has original jurisdiction[.]” 28 U.S.C. §1367(c). “[I]n the

usual case in which all federal-law claims are dismissed before trial, the balance of factors to be

considered under the pendent jurisdiction doctrine — judicial economy, convenience, fairness,

and comity — will point toward declining to exercise jurisdiction over the remaining state-law

claims.” Shekoyan v. Sibley Int’l, 409 F.3d 414, 424 (D.C. Cir. 2005) See also Shafi v.

Palestinian Auth., 642 F.3d 1088, 1097 (D.C. Cir. 2011) (whether to exercise supplemental

jurisdiction is within the “sound discretion” of a district court).

       In Shafi, another ATS case, the D.C. Circuit affirmed the district court’s declination of

supplemental jurisdiction of plaintiffs’ claim of negligence under Israeli law, writing:

       The claim arose from events in another nation. The claim is made under the laws of that
       other nation. All parties are citizens of other nations and have no connection with the
       United States or specifically, with the District of Columbia.

Id. at 1097.

       Here too, the claims at issue arose from events in another nation – Libya (and some

allegedly in the UAE). Although Plaintiffs assert liability for intentional infliction of emotional

distress under D.C. law, as opposed to Libyan law, all parties are citizens of Libya or the UAE



       8
        Confusingly, although the Complaint contains only four causes of action, Plaintiffs
invoke 28 U.S.C. §1331 “in connection with Counts One through Five.” (Dkt. 1 ¶1).
                                                  18
       Case 1:20-cv-00298-CKK Document 12-1 Filed 05/19/20 Page 17 of 17




and have no relevant connection to the United States or Washington, D.C. Therefore, the factors

applicable to this analysis – judicial economy, convenience, fairness, and comity – all point in

favor of declining the exercise of supplemental jurisdiction.

        Finally, under 28 U.S.C. §1367(c)(4), this Court may decline the exercise of

supplemental jurisdiction if “in exceptional circumstances, there are other compelling reasons

for” doing so. This is a foreign-cubed case that does not belong in a U.S. court; it thus presents

exceptional circumstances and compelling reasons for declining to exercise supplemental

jurisdiction.

IV.     Conclusion

        For all the foregoing reasons, this case against Ambassador Nayed simply does not

belong in a U.S. court, and Ambassador Nayed thus respectfully requests that this Court dismiss

the matter against him with prejudice for lack of personal jurisdiction as well as lack of subject-

matter jurisdiction and failure to state a claim upon which relief may be granted.

Dated: May 19, 2020                                   Respectfully submitted,


                                                              /s/ Melvin White
                                                      Melvin White (D.C. Bar No. 422087)
                                                      David Baron (D.C. Bar No. 458930)
                                                      Laina C. Lopez (D.C. Bar No. 477412)
                                                      Berliner Corcoran & Rowe LLP
                                                      1101 17th Street NW, Suite 1100
                                                      Washington, D.C. 20036
                                                      Tel: (202) 293-5555
                                                      Fax: (202) 293-9035
                                                      dbaron@bcr-dc.com
                                                      mwhite@bcr-dc.com
                                                      lcl@bcr-dc.com
                                                      Counsel for Defendant Ambassador Aref Ali
                                                      Nayed




                                                 19
